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NITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V.
Case No. 8:19-cr-398-VMC-SPF

MARIA BASSI LAURO
/

 

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

The Defendant, by consent, appeared before me pursuant to Fed. R. Crim. P. 11 and
pleaded guilty to Counts Two, Four and Six of the Indictment. After cautioning and
examining the Defendant as mandated by Rule 11, I have determined that the guilty plea is
knowledgeable, voluntary, and supported by a factual basis. I therefore recommend that
the plea of guilty be accepted and that the Defendant be adjudged guilty and have sentence
imposed accordingly.

IT IS SO REPORTED AND RECOMMENDED at Tampa, Florida on March 25, 2021.
LA
SEAN P. FLYSN ~
UNITED STATES MAGISTRATE JUDGE

 

NOTICE

Within fourteen days after being served with a copy of this Report and Recommendation, any
party may serve and file written objections to the proposed findings and recommendations or
request an extension of time to do so. 28 U.S.C. § 636(b)(1); 11" Cir. R. 3-1. Failure of any
party to timely object in accordance with the provisions of § 636(b)(1) waives that party’s right
to challenge on appeal the district court’s order based on the unobjected-to factual and legal
conclusions contained in this Report and Recommendation. 11" Cir. R. 3-1.
